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11                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
12
                                               ) Case No.
13    TERRY FABRICANT; ABANTE                  )
14    ROOTER AND PLUMBING INC.;                ) CLASS ACTION
      KEITH HOBBS, individually and on )
15    behalf of all others similarly situated, ) COMPLAINT FOR VIOLATIONS
16                                             ) OF:
      Plaintiffs,                              )
17                                                  1.    NEGLIGENT VIOLATIONS
                                               )
                                                          OF THE TELEPHONE
18           vs.                               )          CONSUMER PROTECTION
19                                             )          ACT [47 U.S.C. §227(b)]
      RFR CAPITAL LLC; and DOES 1              )    2.    WILLFUL VIOLATIONS
20                                                        OF THE TELEPHONE
      through 10, inclusive, and each of them, )          CONSUMER PROTECTION
21                                             )          ACT [47 U.S.C. §227(b)]
      Defendant.                               )    3.    NEGLIGENT VIOLATIONS
22                                                        OF THE TELEPHONE
                                               )          CONSUMER PROTECTION
23                                             )          ACT [47 U.S.C. §227(c)]
                                               )    4.    WILLFUL VIOLATIONS
24                                                        OF THE TELEPHONE
                                               )          CONSUMER PROTECTION
25                                             )          ACT [47 U.S.C. §227(c)]
26                                             )
                                               )
27                                             ) DEMAND FOR JURY TRIAL
28



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 1          Plaintiff TERRY FABRICANT, ABANTE ROOTER AND PLUMBING
 2    INC., and KEITH HOBBS (“Plaintiffs”), individually and on behalf of all others
 3    similarly situated, alleges the following upon information and belief based upon
 4    personal knowledge:
 5                                 NATURE OF THE CASE
 6          1.     Plaintiffs bring this action individually and on behalf of all others
 7    similarly situated seeking damages and any other available legal or equitable
 8    remedies resulting from the illegal actions of RFR CAPITAL LLC (“Defendant”),
 9    in negligently, knowingly, and/or willfully contacting Plaintiffs on Plaintiff’s
10    cellular telephone in violation of the Telephone Consumer Protection Act, 47.
11    U.S.C. § 227 et seq. (“TCPA”) and related regulations, specifically the National
12    Do-Not-Call provisions, thereby invading Plaintiff’s privacy.
13                                JURISDICTION & VENUE
14          2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiffs,
15    residents of California, seeks relief on behalf of a Class, which will result in at least
16    one class member belonging to a different state than that of Defendant, a Delaware
17    company. Plaintiffs also seek up to $1,500.00 in damages for each call in violation
18    of the TCPA, which, when aggregated among a proposed class in the thousands,
19    exceeds the $5,000,000.00 threshold for federal court jurisdiction. Therefore, both
20    diversity jurisdiction and the damages threshold under the Class Action Fairness
21    Act of 2005 (“CAFA”) are present, and this Court has jurisdiction.
22          3.     Venue is proper in the United States District Court for the Central
23    District of California pursuant to 28 U.S.C. § 1391(b) and because Defendant does
24    business within the State of California and Plaintiff resides within the County of
25    Los Angeles.
26                                          PARTIES
27          4.     Plaintiff, TERRY FABRICANT (“Plaintiff”), is a natural person
28    residing in Los Angeles, California and is a “person” as defined by 47 U.S.C. § 153


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 1    (39).
 2            5.    Plaintiff, ABANTE ROOTER AND PLUMBING INC. (“Plaintiff”),
 3    is a natural person residing in Alameda, California and is a “person” as defined by
 4    47 U.S.C. § 153 (39).
 5            6.    Plaintiff, KEITH HOBBS (“Plaintiff”), is a natural person residing in
 6    Columbus, Georgia and is a “person” as defined by 47 U.S.C. § 153 (39).
 7            7.    Defendant, RFR CAPITAL LLC (“Defendant”) is a company that
 8    provides working capital to businesses and is a “person” as defined by 47 U.S.C. §
 9    153 (39).
10            8.    The above named Defendant, and its subsidiaries and agents, are
11    collectively referred to as “Defendants.” The true names and capacities of the
12    Defendants sued herein as DOE DEFENDANTS 1 through 10, inclusive, are
13    currently unknown to Plaintiffs, who therefore sues such Defendants by fictitious
14    names. Each of the Defendants designated herein as a DOE is legally responsible
15    for the unlawful acts alleged herein. Plaintiffs will seek leave of Court to amend
16    the Complaint to reflect the true names and capacities of the DOE Defendants when
17    such identities become known.
18            9.    Plaintiffs are informed and believe that at all relevant times, each and
19    every Defendant was acting as an agent and/or employee of each of the other
20    Defendants and was acting within the course and scope of said agency and/or
21    employment with the full knowledge and consent of each of the other Defendants.
22    Plaintiffs are informed and believe that each of the acts and/or omissions
23    complained of herein was made known to, and ratified by, each of the other
24    Defendants.
25                               FACTUAL ALLEGATIONS
26            10.   Beginning in or around March 2017, Defendant contacted Plaintiff
27    ABANTE ROOTER AND PLUMBING INC. on Plaintiff’s cellular telephone
28    number ending in -7210 in an attempt to solicit Plaintiff to purchase Defendant’s


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 1    services.
 2          11.    Beginning in or around October 2017, Defendant contacted Plaintiff
 3    TERRY FABRICANT on his cellular telephone number ending in -9210 and -1083
 4    in an attempt to solicit Plaintiff to purchase Defendant’s services.
 5          12.    Beginning in or around December 2019, Defendant contacted Plaintiff
 6    KEITH HOBBS on his cellular telephone number ending in -7558, in an attempt
 7    to solicit Plaintiff to purchase Defendant’s services.
 8          13.    Defendant used an “automatic telephone dialing system” as defined
 9    by 47 U.S.C. § 227(a)(1) to place its call to Plaintiffs seeking to solicit its services.
10          14.    When Plaintiff Abante Rooter and Plumbing Inc. answered
11    Defendant’s call, Plaintiff heard nothing until Plaintiff repeatedly asked who was
12    calling, then heard a click before a live person began talking in order to gather
13    Plaintiff’s information and try to solicit Plaintiff to purchase Defendant’s services.
14          15.    Defendant contacted or attempted to contact Plaintiffs from telephone
15    numbers (702) 779-0320, (914) 226-3419, (347) 532-9333, and (347) 256-3329,
16    (347) 656-3879, and (213) 213-5330 which Plaintiffs allege on information and
17    belief was a spoofed telephone number, indicating of Defendant’s attempts to mask
18    its identity to avoid accountability from placing illegal robocalls, as well as having
19    used an ATDS to place the calls..
20          16.    Defendant’s calls constituted calls that were not for emergency
21    purposes as defined by 47 U.S.C. § 227(b)(1)(A).
22          17.    During all relevant times, Defendant did not possess Plaintiff’s “prior
23    express consent” to receive calls using an automatic telephone dialing system or an
24    artificial or prerecorded voice on his cellular telephone pursuant to 47 U.S.C. §
25    227(b)(1)(A).
26          18.    Further, Plaintiffs Terry Fabricant and Keith Hobbs cellular telephone
27    numbers ending in -1083 and -7558 was added to the National Do-Not-Call
28    Registry prior to 30 days of filing this Complaint.


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 1          19.    Defendant placed multiple calls soliciting its business to Plaintiff
 2    Abante Rooter and Plumbing Inc. on their cellular telephone ending in -7210 in or
 3    around March 2017.
 4          20.    Defendant placed multiple calls soliciting its business to Plaintiff
 5    Terry Fabricant on his cellular telephone ending in -9210 and -1083 in or around
 6    October 2017.
 7          21.    Defendant placed multiple calls soliciting its business to Plaintiff
 8    Keith Hobbs on his cellular telephone ending in -7558 in or around December 2019.
 9          22.    Such calls constitute solicitation calls pursuant to 47 C.F.R. §
10    64.1200(c)(2) as they were attempts to promote or sell Defendant’s services.
11          23.    Plaintiff received numerous solicitation calls from Defendant within a
12    12-month period.
13          24.    Defendant continued to call Plaintiffs in an attempt to solicit its
14    services and in violation of the National Do-Not-Call provisions of the TCPA.
15          25.    Upon information and belief, and based on Plaintiff’s experiences of
16    being called by Defendant after being on the National Do-Not-Call list for several
17    years prior to Defendant’s initial call, and at all relevant times, Defendant failed to
18    establish and implement reasonable practices and procedures to effectively prevent
19    telephone solicitations in violation of the regulations prescribed under 47 U.S.C. §
20    227(c)(5).
21                                 CLASS ALLEGATIONS
22          26.    Plaintiff brings this action individually and on behalf of all others
23    similarly situated, as a member the two proposed classes (hereafter, jointly, “The
24    Classes”).
25          27.    The class concerning the ATDS claim for no prior express consent
26    (hereafter “The ATDS Class”) is defined as follows:
27
                   All persons within the United States who received any
28                 solicitation/telemarketing  telephone    calls   from


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 1                 Defendant to said person’s cellular telephone made
                   through the use of any automatic telephone dialing
 2                 system or an artificial or prerecorded voice and such
 3                 person had not previously consented to receiving such
                   calls within the four years prior to the filing of this
 4
                   Complaint.
 5
 6          28.    The class concerning the National Do-Not-Call violation (hereafter
 7    “The DNC Class”) is defined as follows:
 8
                   All persons within the United States registered on the
 9                 National Do-Not-Call Registry for at least 30 days, who
10                 had not granted Defendant prior express consent nor had
                   a prior established business relationship, who received
11
                   more than one call made by or on behalf of Defendant
12                 that promoted Defendant’s products or services, within
                   any twelve-month period, within four years prior to the
13
                   filing of the complaint.
14
15          29.    Plaintiff represents, and is a member of, The ATDS Class, consisting
16    of all persons within the United States who received any collection telephone calls
17    from Defendant to said person’s cellular telephone made through the use of any
18    automatic telephone dialing system or an artificial or prerecorded voice and such
19    person had previously not provided their cellular telephone number to Defendant
20    within the four years prior to the filing of this Complaint.
21          30.    Plaintiff represents, and is a member of, The DNC Class, consisting
22    of all persons within the United States registered on the National Do-Not-Call
23    Registry for at least 30 days, who had not granted Defendant prior express consent
24    nor had a prior established business relationship, who received more than one call
25    made by or on behalf of Defendant that promoted Defendant’s products or services,
26    within any twelve-month period, within four years prior to the filing of the
27    complaint.
28          31.    Defendant, its employees and agents are excluded from The Classes.


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 1    Plaintiff does not know the number of members in The Classes, but believes the
 2    Classes members number in the thousands, if not more. Thus, this matter should
 3    be certified as a Class Action to assist in the expeditious litigation of the matter.
 4          32.    The Classes are so numerous that the individual joinder of all of its
 5    members is impractical. While the exact number and identities of The Classes
 6    members are unknown to Plaintiff at this time and can only be ascertained through
 7    appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 8    The Classes includes thousands of members. Plaintiff alleges that The Classes
 9    members may be ascertained by the records maintained by Defendant.
10          33.    Plaintiff and members of The ATDS Class were harmed by the acts of
11    Defendant in at least the following ways: Defendant illegally contacted Plaintiff
12    and ATDS Class members via their cellular telephones thereby causing Plaintiff
13    and ATDS Class members to incur certain charges or reduced telephone time for
14    which Plaintiff and ATDS Class members had previously paid by having to retrieve
15    or administer messages left by Defendant during those illegal calls, and invading
16    the privacy of said Plaintiff and ATDS Class members.
17          34.    Common questions of fact and law exist as to all members of The
18    ATDS Class which predominate over any questions affecting only individual
19    members of The ATDS Class. These common legal and factual questions, which
20    do not vary between ATDS Class members, and which may be determined without
21    reference to the individual circumstances of any ATDS Class members, include,
22    but are not limited to, the following:
23                 a.     Whether, within the four years prior to the filing of this
24                        Complaint, Defendant made any telemarketing/solicitation call
25                        (other than a call made for emergency purposes or made with
26                        the prior express consent of the called party) to an ATDS Class
27                        member using any automatic telephone dialing system or any
28                        artificial or prerecorded voice to any telephone number


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 1                        assigned to a cellular telephone service;
 2                 b.     Whether Plaintiff and the ATDS Class members were damaged
 3                        thereby, and the extent of damages for such violation; and
 4                 c.     Whether Defendant should be enjoined from engaging in such
 5                        conduct in the future.
 6          35.    As a person that received numerous telemarketing/solicitation calls
 7    from Defendant using an automatic telephone dialing system or an artificial or
 8    prerecorded voice, without Plaintiff’s prior express consent, Plaintiff is asserting
 9    claims that are typical of The ATDS Class.
10          36.    Plaintiff and members of The DNC Class were harmed by the acts of
11    Defendant in at least the following ways: Defendant illegally contacted Plaintiff
12    and DNC Class members via their telephones for solicitation purposes, thereby
13    invading the privacy of said Plaintiff and the DNC Class members whose telephone
14    numbers were on the National Do-Not-Call Registry. Plaintiff and the DNC Class
15    members were damaged thereby.
16          37.    Common questions of fact and law exist as to all members of The
17    DNC Class which predominate over any questions affecting only individual
18    members of The DNC Class. These common legal and factual questions, which do
19    not vary between DNC Class members, and which may be determined without
20    reference to the individual circumstances of any DNC Class members, include, but
21    are not limited to, the following:
22                 a.     Whether, within the four years prior to the filing of this
23                        Complaint, Defendant or its agents placed more than one
24                        solicitation call to the members of the DNC Class whose
25                        telephone numbers were on the National Do-Not-Call Registry
26                        and who had not granted prior express consent to Defendant and
27                        did not have an established business relationship with
28                        Defendant;


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 1                 b.    Whether Defendant obtained prior express written consent to
 2                       place solicitation calls to Plaintiff or the DNC Class members’
 3                       telephones;
 4                 c.    Whether Plaintiff and the DNC Class member were damaged
 5                       thereby, and the extent of damages for such violation; and
 6                 d.    Whether Defendant and its agents should be enjoined from
 7                       engaging in such conduct in the future.
 8          38.    As a person that received numerous solicitation calls from Defendant
 9    within a 12-month period, who had not granted Defendant prior express consent
10    and did not have an established business relationship with Defendant, Plaintiff is
11    asserting claims that are typical of the DNC Class.
12          39.    Plaintiff will fairly and adequately protect the interests of the members
13    of The Classes. Plaintiff has retained attorneys experienced in the prosecution of
14    class actions.
15          40.    A class action is superior to other available methods of fair and
16    efficient adjudication of this controversy, since individual litigation of the claims
17    of all Classes members is impracticable. Even if every Classes member could
18    afford individual litigation, the court system could not. It would be unduly
19    burdensome to the courts in which individual litigation of numerous issues would
20    proceed. Individualized litigation would also present the potential for varying,
21    inconsistent, or contradictory judgments and would magnify the delay and expense
22    to all parties and to the court system resulting from multiple trials of the same
23    complex factual issues. By contrast, the conduct of this action as a class action
24    presents fewer management difficulties, conserves the resources of the parties and
25    of the court system, and protects the rights of each Classes member.
26          41.    The prosecution of separate actions by individual Classes members
27    would create a risk of adjudications with respect to them that would, as a practical
28    matter, be dispositive of the interests of the other Classes members not parties to


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 1     such adjudications or that would substantially impair or impede the ability of such
 2     non-party Class members to protect their interests.
 3           42.    Defendant has acted or refused to act in respects generally applicable
 4     to The Classes, thereby making appropriate final and injunctive relief with regard
 5     to the members of the Classes as a whole.
 6                               FIRST CAUSE OF ACTION
 7            Negligent Violations of the Telephone Consumer Protection Act
 8                                     47 U.S.C. §227(b).
 9                               On Behalf of the ATDS Class
10           43.    Plaintiff repeats and incorporates by reference into this cause of action
11     the allegations set forth above at Paragraphs 1-36.
12           44.    The foregoing acts and omissions of Defendant constitute numerous
13     and multiple negligent violations of the TCPA, including but not limited to each
14     and every one of the above cited provisions of 47 U.S.C. § 227(b), and in particular
15     47 U.S.C. § 227 (b)(1)(A).
16           45.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(b),
17     Plaintiff and the Class Members are entitled an award of $500.00 in statutory
18     damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
19           46.    Plaintiff and the ATDS Class members are also entitled to and seek
20     injunctive relief prohibiting such conduct in the future.
21
22                             SECOND CAUSE OF ACTION
23      Knowing and/or Willful Violations of the Telephone Consumer Protection
24                                             Act
25                                     47 U.S.C. §227(b)
26                               On Behalf of the ATDS Class
27           47.    Plaintiff repeats and incorporates by reference into this cause of action
28     the allegations set forth above at Paragraphs 1-36.


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 1           48.    The foregoing acts and omissions of Defendant constitute numerous
 2     and multiple knowing and/or willful violations of the TCPA, including but not
 3     limited to each and every one of the above cited provisions of 47 U.S.C. § 227(b),
 4     and in particular 47 U.S.C. § 227 (b)(1)(A).
 5           49.    As a result of Defendant’s knowing and/or willful violations of 47
 6     U.S.C. § 227(b), Plaintiff and the ATDS Class members are entitled an award of
 7     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
 8     § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 9           50.    Plaintiff and the Class members are also entitled to and seek injunctive
10     relief prohibiting such conduct in the future.
11                               THIRD CAUSE OF ACTION
12            Negligent Violations of the Telephone Consumer Protection Act
13                                     47 U.S.C. §227(c)
14                               On Behalf of the DNC Class
15           51.    Plaintiff repeats and incorporates by reference into this cause of action
16     the allegations set forth above at Paragraphs 1-36.
17           52.    The foregoing acts and omissions of Defendant constitute numerous
18     and multiple negligent violations of the TCPA, including but not limited to each
19     and every one of the above cited provisions of 47 U.S.C. § 227(c), and in particular
20     47 U.S.C. § 227 (c)(5).
21           53.    As a result of Defendant’s negligent violations of 47 U.S.C. § 227(c),
22     Plaintiff and the DNC Class Members are entitled an award of $500.00 in statutory
23     damages, for each and every violation, pursuant to 47 U.S.C. § 227(c)(5)(B).
24           54.    Plaintiff and the DNC Class members are also entitled to and seek
25     injunctive relief prohibiting such conduct in the future.
26     ///
27     ///
28     ///


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 1                               FOURTH CAUSE OF ACTION
 2      Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                               Act
 4                                     47 U.S.C. §227 et seq.
 5                                 On Behalf of the DNC Class
 6           55.      Plaintiff repeats and incorporates by reference into this cause of action
 7     the allegations set forth above at Paragraphs 1-36.
 8           56.      The foregoing acts and omissions of Defendant constitute numerous
 9     and multiple knowing and/or willful violations of the TCPA, including but not
10     limited to each and every one of the above cited provisions of 47 U.S.C. § 227(c),
11     in particular 47 U.S.C. § 227 (c)(5).
12           57.      As a result of Defendant’s knowing and/or willful violations of 47
13     U.S.C. § 227(c), Plaintiff and the DNC Class members are entitled an award of
14     $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.
15     § 227(c)(5).
16           58.      Plaintiff and the DNC Class members are also entitled to and seek
17     injunctive relief prohibiting such conduct in the future.
18                                   PRAYER FOR RELIEF
19      WHEREFORE, Plaintiff requests judgment against Defendant for the following:
20                                FIRST CAUSE OF ACTION
21            Negligent Violations of the Telephone Consumer Protection Act
22                                       47 U.S.C. §227(b)
23                  As a result of Defendant’s negligent violations of 47 U.S.C.
24                    §227(b)(1), Plaintiff and the ATDS Class members are entitled to and
25                    request $500 in statutory damages, for each and every violation,
26                    pursuant to 47 U.S.C. 227(b)(3)(B).
27                  Any and all other relief that the Court deems just and proper.
28     ///


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 1                            SECOND CAUSE OF ACTION
 2      Knowing and/or Willful Violations of the Telephone Consumer Protection
 3                                            Act
 4                                    47 U.S.C. §227(b)
 5                 As a result of Defendant’s willful and/or knowing violations of 47
 6                 U.S.C. §227(b)(1), Plaintiff and the ATDS Class members are
 7                 entitled to and request treble damages, as provided by statute, up to
 8                 $1,500, for each and every violation, pursuant to 47 U.S.C.
 9                 §227(b)(3)(B) and 47 U.S.C. §227(b)(3)(C).
10                 Any and all other relief that the Court deems just and proper.
11                             THIRD CAUSE OF ACTION
12           Negligent Violations of the Telephone Consumer Protection Act
13                                    47 U.S.C. §227(c)
14                 As a result of Defendant’s negligent violations of 47 U.S.C.
15                 §227(c)(5), Plaintiff and the DNC Class members are entitled to and
16                 request $500 in statutory damages, for each and every violation,
17                 pursuant to 47 U.S.C. 227(c)(5).
18                 Any and all other relief that the Court deems just and proper.
19                            FOURTH CAUSE OF ACTION
20      Knowing and/or Willful Violations of the Telephone Consumer Protection
21                                            Act
22                                    47 U.S.C. §227(c)
23                 As a result of Defendant’s willful and/or knowing violations of 47
24                 U.S.C. §227(c)(5), Plaintiff and the DNC Class members are entitled
25                 to and request treble damages, as provided by statute, up to $1,500,
26                 for each and every violation, pursuant to 47 U.S.C. §227(c)(5).
27                 Any and all other relief that the Court deems just and proper.
28          59.    Pursuant to the Seventh Amendment to the Constitution of the United


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 1     States of America, Plaintiff is entitled to, and demands, a trial by jury.
 2
 3
 4           Respectfully Submitted this 16th Day of January, 2020.
 5                                LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 6
                                         By: /s/ Todd M. Friedman
 7                                           Todd M. Friedman
 8
                                             Law Offices of Todd M. Friedman
                                             Attorney for Plaintiff
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